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                            UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF COLUMBIA

UNITED STATES OF AMERICA                      :
                                              :
       v.                                     :      Case No.: 21-cr-216 (JDB)
                                              :
LEO BRENT BOZELL IV,                          :
                                              :
               Defendant.                     :

              JOINT MOTION TO CONTINUE STATUS CONFERENCE AND
                  EXCLUDE TIME UNDER THE SPEEDY TRIAL ACT

       The United States, through undersigned counsel, and defendant Leo Brent Bozell IV,

through undersigned counsel, hereby file this motion to adjourn the status conference set for

Monday, June 6, 2022, in the above-captioned matter, for approximately 40 days, until Monday,

July 18, 2022. The parties request the additional time to engage in plea negotiations and

continue to review discovery productions.

       The parties request that the Court exclude the time until the status conference on July 18,

2022, pursuant to 18 U.S.C. § 3161 et seq., on the basis that the ends of justice served by taking

such actions outweigh the best interest of the public and the defendant in a speedy trial pursuant

to the factors described in 18 U.S.C. § 3161(h)(7)(A).
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                           Respectfully submitted,

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                           Attorney for Defendant
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                                 CERTIFICATE OF SERVICE

       On this 1st day of June, a copy of the foregoing was served on all parties via the Court’s
Electronic Filing System.



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